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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


NATHSON FIELDS,                     )
                                    )
               Plaintiff,           )
                                    )
      vs.                           )              Case No. 10 C 1168
                                    )
CITY OF CHICAGO, DAVID O'CALLAGHAN, )
JOSEPH MURPHY, DANIEL BRANNIGAN, )
and LARRY WHARRIE,                  )
                                    )
               Defendants.          )



                           INSTRUCTIONS TO THE JURY




Date: April 24, 2014

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      Members of the jury, you have seen and heard all the evidence, and you are about

to hear the arguments of the attorneys. Now I will instruct you on the law.

      You have two duties as a jury. Your first duty is to decide the facts from the

evidence in the case. This is your job, and yours alone.

      Your second duty is to apply the law that I give you to the facts. You must follow

these instructions, even if you disagree with them. Each of the instructions is important,

and you must follow all of them. You must also continue to follow the instructions that I

gave you at the start of the trial that you may not communicate about the case or about

people involved in the case with anyone other than your fellow jurors until after you have

returned your verdict.

      Perform these duties fairly and impartially. Each party to the case is entitled to the

same fair consideration. Do not allow sympathy, prejudice, fear, or public opinion to

influence you. You should not be influenced by any person's race, color, religion,

national ancestry, age, or sex.

      Nothing I am saying now, and nothing I said or did during the trial, is meant to

indicate any opinion on my part about what the facts are or about what your verdict

should be.

      To the extent that these instructions differ from the instructions that I read you at

the beginning of the case, the instructions that I am giving you now are the ones that

govern your consideration of this case.




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       The evidence consists of the testimony of the witnesses and the exhibits admitted

in evidence.

       In determining whether any fact has been proved, you should consider all of the

evidence bearing on that fact, regardless of who offered the evidence.

       You must make your decision based on what you recall of the evidence. You will

not have a written transcript of the testimony to consult.

       Certain things are not evidence. I will list them for you:

       First, if I told you to disregard any testimony or exhibits or struck any testimony or

exhibits from the record, such testimony or exhibits are not evidence and must not be

considered.

       Second, anything that you may have seen or heard outside the courtroom is not

evidence and must be entirely disregarded. This includes any press, radio, Internet or

television reports you may have seen or heard. Such reports are not evidence, and your

verdict must not be influenced in any way by such publicity.

       Third, questions and objections or comments by the lawyers are not evidence.

Lawyers have a duty to object when they believe a question is improper. You should not

be influenced by any objection, and you should not infer from my rulings that I have any

view as to how you should decide the case.

       Fourth, the lawyers' opening statements and closing arguments to you are not

evidence. Their purpose is to discuss the issues and the evidence. If the evidence as

you remember it differs from what the lawyers said, your memory is what counts.




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       Any notes you have taken during this trial are only aids to your memory. The

notes are not evidence. If you have not taken notes, you should rely on your

independent recollection of the evidence and not be unduly influenced by the notes of

other jurors. Notes are not entitled to any greater weight than the recollections or

impressions of each juror about the testimony.




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       You should use common sense in weighing the evidence and consider the

evidence in light of your own observations in life.

       In our lives, we sometimes look at one fact and conclude from it that another fact

exists. In law we call this an "inference." A jury is allowed to make reasonable

inferences, so long as they are based on the evidence in the case.

       You may have heard the phrases "direct evidence" and "circumstantial evidence."

Direct evidence is proof that does not require an inference, such as the testimony of

someone who claims to have personal knowledge of a fact. Circumstantial evidence is

proof of a fact, or a series of facts, that tends to show that some other fact

is true.

       You are to consider both direct and circumstantial evidence. The law allows you

to give equal weight to both types of evidence, but it is up to you to decide how much

weight to give to any evidence in the case.




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       You must decide whether the testimony of each of the witnesses is truthful and

accurate, in part, in whole, or not at all. You also must decide what weight, if any, you

give to the testimony of each witness.

       In evaluating the testimony of any witness, including any party to the case, you

may consider, among other things:

       -      the ability and opportunity the witness had to see, hear, or know the things

that the witness testified about;

       -      the witness's memory;

       -      any interest, bias, or prejudice the witness may have;

       -      the witness's intelligence;

       -      the manner of the witness while testifying;

       -      the reasonableness of the witness's testimony in light of all the evidence in

the case; and

       -      any inconsistent statements or conduct by the witness.

       It is proper for an attorney to meet with any witness in preparation for trial.




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       You have heard witnesses who gave opinions about certain subjects. You do not

have to accept the testimony of such a witness. You should judge it in the same way you

judge the testimony of any other witness. In deciding how much weight to give to this

testimony, you should consider the witness's qualifications, how the witness reached his

opinions, and the factors I have described for determining the believability of testimony.




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       The law does not require any party to call as a witness every person who might

have knowledge of the facts related to this trial. Similarly, the law does not require any

party to present as exhibits all papers and things mentioned during this trial.

       You may find the testimony of one witness or a few witnesses to be more

persuasive than the testimony of a larger number of witnesses. You need not accept the

testimony of the larger number of witnesses.




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                                   The parties and the claims

       The plaintiff in this case is Nathson Fields. I will refer to him as the plaintiff. The

defendants in this case are the City of Chicago; David O'Callaghan, Joseph Murphy, Daniel

Brannigan, who are current or retired Chicago police officers; and Larry Wharrie, who is a

former Cook County prosecutor. I will refer to them as the defendants.

       The plaintiff claims that defendants O’Callaghan, Murphy, and Brannigan violated his

civil rights, conspired to violate his civil rights, maliciously caused him to be prosecuted for

murder, and intentionally inflicted emotional distress. The plaintiff claims that defendant

Wharrie violated his civil rights, conspired to violate his civil rights, and intentionally inflicted

emotional distress. As to the City of Chicago, the plaintiff contends that a policy or

widespread practice of the City caused a violation of his civil rights.

       The defendants deny each of the plaintiff's claims.

       You must give separate consideration to each claim and to each defendant.




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                              Preponderance of the evidence

       In these instructions, I will use the term “preponderance of the evidence.” When I

say that the plaintiff has to prove something by a preponderance of the evidence, I mean

that he must prove that the particular proposition is more likely true than not true.




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                       First claim - violation of due process –
               defendants O’Callaghan, Murphy, Brannigan, and Wharrie

       The plaintiff’s first claim is that defendants O’Callaghan, Murphy, Brannigan, and

Wharrie violated his constitutional right to due process of law.

       To succeed on this claim as to the particular defendant you are considering, the

plaintiff must prove both of the following things by a preponderance of the evidence:

       1.     The defendant:

              a.       knowingly concealed material exculpatory and/or impeachment

              evidence, and the evidence was not otherwise available to the plaintiff through

              the exercise of reasonable diligence;

              and/or

              b.       knowingly fabricated or participated in the fabrication of material false

              evidence.

       2.     The plaintiff was damaged as a result of the concealment or fabrication.

       I will now define some of the terms that I have just used.

        “Exculpatory” evidence is evidence that would tend to show that the accused person

is not guilty of the crime charged. “Impeachment” evidence is evidence that would

undermine the credibility of a prosecution witness who testifies at the criminal trial.

       With regard to plaintiff’s 1986 criminal trial, exculpatory or impeachment evidence, or

fabricated evidence, is considered "material" if it would have had a reasonable likelihood of

affecting the outcome of the case.

       With regard to plaintiff’s 2009 criminal trial, exculpatory or impeachment evidence, or

fabricated evidence, is considered “material” if there is a reasonable likelihood that it would

have altered the prosecutors’ decision to proceed to trial.
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       As to defendant Wharrie, this claim concerns only the contention that, before the

arrest or charging of the plaintiff, defendant Wharrie knowingly fabricated or participated in

causing the fabrication of material false statements by Anthony Sumner against the plaintiff.

Liability of defendant Wharrie on this claim may not be premised on any contention other

than that.




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                             Second claim – conspiracy –
                defendants O’Callaghan, Murphy, Brannigan, and Wharrie

       Plaintiff’s second claim is that defendants O'Callaghan, Murphy, Brannigan, and

Wharrie conspired to deprive him of his right to due process of law by concealing material

exculpatory and/or impeachment evidence and by fabricating false evidence. A conspiracy

is an agreement to accomplish an unlawful purpose or to accomplish a lawful purpose by

unlawful means.

       To succeed on this claim, the plaintiff must prove each of the following things by a

preponderance of the evidence as to the particular defendant you are considering:

       1.      The conspiracy as I have described it existed. Plaintiff must prove there was

an agreement between two or more persons to conceal material exculpatory and/or

impeachment evidence and/or to fabricate false evidence. Plaintiff must prove that the

participants shared this common purpose. He does not have to prove there was a formal

agreement or plan in which all involved met together and worked out the details. He also

does not have to prove that each participant knew all the details of the conspiratorial plan or

the identity of all the participants.

       2.      The defendant knowingly became a member of the conspiracy with the

intention to carry out the conspiracy.

       3.      One or more of conspirators committed an act in an effort to carry out the

conspiracy.

       4.      As a result, the plaintiff's due process rights were violated as defined in the

first claim.

       Again, as to defendant Wharrie, this claim concerns only the contention that, before

the arrest or charging of the plaintiff, defendant Wharrie knowingly fabricated or participated
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in causing the fabrication of material false statements by Anthony Sumner against the

plaintiff. Liability of defendant Wharrie on this claim may not be premised on any contention

other than that.




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                              Third claim – malicious prosecution –
                         defendants O'Callaghan, Murphy, and Brannigan

       The plaintiff’s third claim is that defendants O'Callaghan, Murphy, and Brannigan

maliciously caused him to be prosecuted for murder.

       To succeed on this claim as to the particular defendant you are considering, the

plaintiff must prove each of the following things by a preponderance of the evidence:

       1.      The defendant caused a criminal proceeding to be commenced or continued

against the plaintiff.

       2.      There was no probable cause for the criminal proceeding. Probable cause

existed if, based on the evidence known at the time, a reasonably prudent person would

have believed that the plaintiff had committed the crime that was charged. The fact that the

criminal charges against the plaintiff were later dismissed does not, by itself, mean that the

defendant did not have probable cause at the time of the charging.

       3.      The defendant acted with malice. A person acts with malice in commencing a

criminal prosecution if he acts for any reason other than to bring another person to justice.

You may infer that a person acts with malice if the absence of probable cause is clearly

proven and the circumstances are inconsistent with actions made in good faith.

       4.      The criminal proceeding was terminated in the plaintiff's favor in a manner

indicative of his innocence.

       5.      The plaintiff was damaged as a result of the defendant's actions.




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               Fourth claim – intentional infliction of emotional distress –
               defendants O'Callaghan, Murphy, Brannigan, and Wharrie

       The plaintiff’s fourth claim is that defendants O'Callaghan, Murphy, Brannigan, and

Wharrie intentionally caused him emotional distress.

       To succeed on this claim as to the particular defendant you are considering, the

plaintiff must prove each of the following things by a preponderance of the evidence:

       1.     The defendant's conduct was so outrageous in character, and so extreme in

degree, to exceed the bounds of decency.

       2.     The defendant intended to inflict emotional distress on plaintiff or knew there

was a high probability that his conduct would do so.

       3.     The defendant’s conduct caused plaintiff emotional distress so severe that no

reasonable person could be expected to endure it.

       Again, as to defendant Wharrie, this claim concerns only the contention that, before

the arrest or charging of the plaintiff, defendant Wharrie knowingly fabricated or participated

in causing the fabrication of material false statements by Anthony Sumner against the

plaintiff. Liability of defendant Wharrie on this claim may not be premised on any contention

other than that.




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                    Fifth claim – "policy" claim against City of Chicago

       The plaintiff’s fifth claim is that the City of Chicago had a policy or widespread

practice that caused a violation of his right to due process of law.

       To succeed on this claim, the plaintiff must prove each of the following things by a

preponderance of the evidence:

       1.     Material exculpatory or impeachment evidence in the possession of the

Chicago Police Department was concealed. These terms have the same definitions that I

provided in connection with the plaintiff's first claim.

       2.     At the time of the concealment, it was the policy of the City of Chicago to

conceal material exculpatory and/or impeachment evidence. As used in this case, the term

policy means: (a) an express policy that causes a constitutional deprivation when enforced,

or (b) a widespread practice that is so permanent and well-settled that it constitutes a

custom or practice.

       3.     The policy as I have described it in paragraph 2 caused the concealment of

material exculpatory or impeachment evidence.




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                          Chicago Police Department regulations

       You have heard evidence about whether Chicago Police Department regulations

were complied with. You may consider this evidence in your deliberations. But remember

that the issues you must decide are whether the plaintiff has proven the claims as I have

described them in the preceding instructions, not whether Police Department regulations

may have been violated.




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                                           Damages

       The plaintiff's damages, if any, will be determined by you separately after you have

made a determination on the question of the defendants' liability. I will give you further

instructions about damages at that time.




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                                     Final instructions

       Once you are all in the jury room, the first thing you should do is choose a presiding

juror. The presiding juror should see to it that your discussions are carried on in an

organized way and that everyone has a fair chance to be heard. You may discuss the case

only when all jurors are present.

       Once you start deliberating, do not communicate about the case or your

deliberations with anyone except other members of your jury. You may not communicate

with others about the case or your deliberations by any means. This includes oral or written

communication, as well as any electronic method of communication, such as by using

telephone, cell phone, smart phone, iPhone, Blackberry, an Android, or a computer; by

using text messaging, instant messaging, the Internet, chat rooms, blogs, websites, or

services like Facebook, LinkedIn, GooglePlus, YouTube, Twitter; or by using any other

method of communication.




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       If you need to communicate with me while you are deliberating, send a note through

the court security officer. The note should be signed by the presiding juror or by one or

more members of the jury. To have a complete record of this trial, it is important that you

not communicate with me except by a written note. I may have to talk to the lawyers about

your message, so it may take me some time to get back to you. You may continue your

deliberations while you wait for my answer.

       If you send me a message, do not include the breakdown of your votes. In other

words, do not tell me that you are split 6-6, or 8-4, or whatever your vote happens to be.




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        A verdict form has been prepared for you. You will take this form with you to the jury

room.

        [Read the verdict form.]

        When you have reached unanimous agreement, your presiding juror will fill in and

date the verdict form, and each of you will sign it.

        Advise the court security officer once you have reached a verdict. When you come

back to the courtroom, I will read the verdict aloud.




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       The verdict must represent the considered judgment of each juror. Your verdict must

be unanimous.

       You should make every reasonable effort to reach a verdict. In doing so, you should

consult with each other, express your own views, and listen to your fellow jurors' opinions.

Discuss your differences with an open mind. Do not hesitate to re-examine your own view

and change your opinion if you come to believe it is wrong. But you should not surrender

your honest beliefs about the weight or effect of evidence just because of the opinions of

your fellow jurors or just so that there can be a unanimous verdict.

       The twelve of you should give fair and equal consideration to all the evidence. You

should deliberate with the goal of reaching an agreement that is consistent with the

individual judgment of each juror.

       You are impartial judges of the facts.




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          VERDICT FORM – Fields v. City of Chicago, et al., Case No. 10 C 1168

        We, the jury, find as follows on the claims of the plaintiff, Nathson Fields, against the

defendants, the City of Chicago, David O'Callaghan, Joseph Murphy, Daniel Brannigan, and

Larry Wharrie:

1.      First claim – violation of due process:
                                                  (check one on each line)
Name of defendant                          For plaintiff       For defendant

David O'Callaghan                            ______                  ______

Joseph Murphy                                ______                  ______

Daniel Brannigan                             ______                  ______

Larry Wharrie                                ______                  ______

2.      Second claim – conspiracy:
                                                  (check one on each line)
Name of defendant                          For plaintiff       For defendant

David O'Callaghan                            ______                  ______

Joseph Murphy                                ______                  ______

Daniel Brannigan                             ______                  ______

Larry Wharrie                                ______                  ______

3.      Third claim – malicious prosecution:
                                                  (check one on each line)
Name of defendant                          For plaintiff       For defendant

David O'Callaghan                            ______                  ______

Joseph Murphy                                ______                  ______

Daniel Brannigan                             ______                  ______




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4.      Fourth claim – intentional infliction
        of emotional distress:
                                                (check one on each line)
Name of defendant                        For plaintiff       For defendant

David O'Callaghan                          ______                 ______

Joseph Murphy                              ______                 ______

Daniel Brannigan                           ______                 ______

Larry Wharrie                              ______                 ______

5.      Fifth claim – policy claim against City of Chicago:

Name of defendant                        For plaintiff         For defendant

City of Chicago                            ______                 ______



Please sign and date the form below:

______________________________                       ____________________________
Presiding juror

______________________________                       ____________________________


______________________________                       ____________________________


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______________________________                       ____________________________

Date: __________________, 2014




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